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                       UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION
                                     :
In re:                               :
                                     :
    Jeffrey William Foust            :  Case No.: 18-11278
    Rhonda Carlene Foust             :  Chapter 7
                                     :  Chief Judge Robert E. Grant
        Debtor.                      :  *********************
                                     :


    AGREED ORDER RESOLVING MOTION FOR RELIEF FROM STAY AND
 ABANDONMENT (DOCKET NUMBER 9) AS TO REAL PROPERTY LOCATED AT
           1004 SALAMONIE AVENUE, HUNTINGTON, IN 46750

       Nationstar Mortgage LLC d/b/a Mr. Cooper ("Movant"), by counsel, and Martin E.

Siefert (''Trustee'') for the agreed order resolving Nationstar Mortgage LLC d/b/a Mr. Cooper's

Motion for Relief from Stay and Abandonment ( the "Motion") Docket Number 9 with respect to

certain real property located at 1004 Salamonie Avenue, Huntington, Indiana, 46750 (the

"Property") states as follows:

1.     Nationstar Mortgage LLC d/b/a Mr. Cooper is granted relief from the automatic stay

       imposed by 11 U.S.C. 362(a) of the Bankruptcy Code to initiate its foreclosure action of

       the Property. Creditor shall not proceed with a foreclosure sale until the expiration of the

       six (6) months contemplated in paragraph 3 below.

2.     Relief from stay is granted without prejudice to the Debtor's rights to reinstate and/or

       reaffirm his/her mortgage obligation with Creditor.

3.     Creditor agrees to give the Trustee six (6) months from the order approving this Agreed

       Order to sell the Real Property, subject to the following terms (1) Creditor's subject

       mortgage loan shall be paid in full, or (2) any sale for less than payment in full is subject

       to approval by Creditor.

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4.     If the Property does not sell within the six (6) months contemplated in paragraph (3)

       above, the Property shall be deemed automatically abandoned on the expiration of the six

       (6) months.

5.     Should the Trustee find a buyer for the Property, a motion to sell shall be filed with the

       court, as required by local rules and the Bankruptcy Code.


Submitted by:

 /s/ Sarah E. Barngrover
Sarah E. Barngrover (28840-64)
Edward H. Cahill (0088985)
Adam B. Hall (0088234)
John R. Cummins (11532-10)
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Attorneys for Creditor
The case attorney for this file is Sarah E. Barngrover.
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___________________________________
/s/ Martin E. Seifert
Martin E. Seifert
Chapter 7 Trustee
444 East Main Street
Fort Wayne, IN 46802
Email:



                 September 28, 2018
SO ORDERED, this____________________

                                                              /s/ Robert E. Grant
                                                             ______________________________
                                                             Robert E. Grant, Chief Judge
                                                             United States Bankruptcy Court


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